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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Fifth Third Bank, National Association
                                             Plaintiff,
v.                                                          Case No.: 1:22−cv−01936
                                                            Honorable Edmond E. Chang
Edward H Ruff, et al.
                                             Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 29, 2022:


        MINUTE entry before the Honorable Edmond E. Chang: The Defendants'
extension motions [19] [21] [23] to respond is granted as to all Defendants to 08/19/2022.
The motion [20] to withdraw as counsel is granted. The tracking status hearing of
07/01/2022 is reset to 09/09/2022 at 8:30 a.m., but to track the case only (no appearance is
required, the case will not be called). Instead, the parties shall file a joint initial status
report on 09/02/2022. Mailed notice (lma, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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